             Case 1:18-cv-09936-LGS Document 309 Filed 06/14/21 Page 1 of 3
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June 14, 2021

Hon. Lorna G. Schofield, Judge
c/o Clerk of Court
500 Pearl Street
New York, NY 10007
No.: 1:18-cv-09936-LGS

RE: Certiorari denied in Patel v. Trump Corp. et al., No. 20-1513 (U.S. 2021)


Your Honor:

        On June 14, 2021, the United States Supreme Court denied certiorari for this Order at 6, Doe v.
The Trump Corp et al., No. 1:18-cv-09936-LGS (S.D.N.Y. 2020), Dkt. 272, appeal denied No. 20-1706
(2d Cir. 2020), cert. denied, Patel v. The Trump Corp. et al., No. 20-1513 (U.S. 2021).

      I look forward to the decision in the related pending case in Patel v. Biden et al., No. 1:21-cv-
1076-TSC (D.D.C. 202_).



Sincerely,




/s/ Raj Patel, J.D. Candidate, Notre Dame L. Sch. ‘21 or ‘22
• President/Student Body President, Student Gov’t Ass’n of Emory U., Inc. 13-14
• Student Body President, Brownsburg Cmty. Sch. Corp./President, Brownsburg High Sch. Student
Gov’t 09-10
• Rep. from the Notre Dame L. Sch. Student B. Ass’n to the Ind. St. B. Ass’n 17 (he/they/their)
             Case 1:18-cv-09936-LGS Document 309 Filed 06/14/21 Page 2 of 3

                                      CERTIFICATE OF SERVICE

I, Raj K. Patel, certify that I filed the preceding letter by e-mail, and I certify that I provided notice of
filing to all counsel of record listed below by e-mail:

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Dated: June 14, 2021
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                                   Respectfully submitted,



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                                          Corp./President, Brownsburg High Sch.
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                                   Co-Founder & Vice Chair, Ind. High Sch.
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                                   Vice President of Fin. (Indep.), Oxford C.
                                          Republicans of Emory U., Inc. 2011-2012




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